
USCA1 Opinion

	










          July 12, 1996     UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                     ____________


          No. 95-1584

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                   GERARD DISANTO,
                                Defendant - Appellant.

                                     ____________


                                     ERRATA SHEET


               The  opinion of  this  Court issued  on  June 14,  1996,  is
          amended as follows:

               Page  20, line 23, is  amended by inserting  "of the impact"
          after "assessment" in the United States v. Rivera-G mez, 67  F.39
                                    _____________    ____________
          993, 998 (1st Cir. 1995), parenthetical.

               Page 49, last  line, is amended by changing "Id.  at 872" to
                                                            ___
          "Morillo, 8 F.3d at 872".
           _______






































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1584

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   GERARD DISANTO,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                                _____________________

               Paul J. Haley, with whom Law Office of Paul J. Haley, was on
               _____________            ___________________________
          brief for appellant.
               John M. Griffin, Assistant United States Attorney, with whom
               _______________
          Donald K.  Stern,  United  States  Attorney,  was  on  brief  for
          ________________
          appellee.



                                 ____________________

                                    June 14, 1996
                                 ____________________


















                    TORRUELLA,  Chief  Judge.    After  a  nine-day  trial,
                    TORRUELLA,  Chief  Judge
                                ____________

          Appellant   Gerard  DiSanto   ("Appellant")  was   convicted  for

          attempted arson in violation  of 18 U.S.C.   844(i),  the federal

          arson statute, which makes it a federal crime to destroy by means

          of fire  property  used in  or  affecting interstate  or  foreign

          commerce; and for conspiracy  to commit arson in violation  of 18

          U.S.C.    371.  Appellant appeals  his conviction as  well as his

          sentence on a  number of grounds.  For the  following reasons, we

          affirm  the  district  court's   judgment  and  sentence  in  all

          respects.

                          FACTUAL AND PROCEDURAL BACKGROUND
                          FACTUAL AND PROCEDURAL BACKGROUND
                          _________________________________

                    Presenting the  facts in  the light most  hospitable to

          the jury's verdict, see United States v. Staula, 80 F.3d 596, 599
                              ___ _____________    ______

          (1st Cir. 1996); United States  v. Ortiz, 966 F.2d 707, 711  (1st
                           _____________     _____

          Cir. 1992),  cert. denied,  506 U.S.  1063  (1993), the  evidence
                       ____________

          presented during the nine-day trial tended to show the following.

                    The Galleria  II was a family-style  restaurant and pub

          serving   Italian   food   and   pizza,   located  in   Westport,

          Massachusetts  (the  "restaurant"),  which  was  owned  by  three

          partners: Appellant,  Robert Ashness  ("Ashness")  and Dr.  Louis

          Aguiar  ("Dr. Aguiar").  The restaurant was located in a building

          which  Appellant and Ashness leased  from Dr. Aguiar and Fernando

          L pes  ("L pes").   The  lease  agreement  provided, among  other

          things,  for  a monthly  rent of  $3,600  and an  option  for the

          restaurant  owners to purchase L pes' share in the property.  The

          restaurant  received natural  gas  and food  supplies that  moved


                                         -2-














          through interstate commerce.  Although very successful during the

          summer  months of 1991, its first year of operation, the Galleria

          II's  business   proved  to  be  seasonal   and  business  slowed

          considerably after the summer.  In addition to the slow business,

          there  were significant  problems with  the building's  water and

          septic  systems and  the relationship  between Appellant  and Dr.

          Aguiar  deteriorated  over who  was  responsible to  pay  for the

          required  improvements:  the restaurant, as tenant, or Dr. Aguiar

          and L pes, as landlords. 

                    Among  the  Galleria  II's  employees,  Randy  Schaller

          ("Schaller") served as  chef and as kitchen  manager; and Shelley

          McKenna ("McKenna") served as the bar manager and hostess and was

          also responsible for the cash and bookkeeping.  Both Schaller and

          McKenna  had longstanding  business relationships  with Appellant

          and  considered him  a friend.   Beginning in  the fall  of 1991,

          Appellant began discussing with  Schaller the need for renovating

          the restaurant.  In  addition to correcting the water  and septic

          systems,  Appellant proposed  that  an outside  roof-top deck  be

          installed for  the purpose of increasing liquor  sales during the

          peak  summer season.  Appellant  told Schaller that  he wanted to

          finance  the renovations  by  burning the  top of  the restaurant

          above  the second floor as  the insurance proceeds  from the fire

          would provide funds for  the renovations.   As part of his  plan,

          Appellant increased the Galleria II's existing insurance coverage

          (building,   contents,  and  premises  liability)  by  purchasing

          $90,000   of  business   interruption  insurance,   which  became


                                         -3-














          effective December 3, 1991, two months before the arson attempts.

          The proceeds  from the business interruption  coverage could have

          been used for any purpose, including for the  repair of the water

          and septic systems.

                    On  or about  February  19, 1992,  after unsuccessfully

          attempting   to  hire  someone  else  to  burn  the  top  of  the

          restaurant, Appellant attempted to set a fire himself by igniting

          a  stack of  papers in  the attic  of the  restaurant.   The fire

          burned out,  however, before  it could  fully ignite  the exposed

          wood frame.  Both Schaller and McKenna, who had been drawn to the

          attic  because  of  the  open attic  door,  discovered  Appellant

          standing  over the  burning stack  of papers  and refused  to get

          involved.  During  the days following  his first failed  attempt,

          Appellant  asked Schaller if he would help by pouring gasoline on

          the  attic  rafters as  part of  a  plan whereby  Appellant would

          return later to ignite the gasoline.   After repeatedly declining

          to get involved, Schaller finally agreed to assist Appellant.  

                    Shortly  after  noon  on  February  23, 1992,  Schaller

          poured  gasoline, as  Appellant had  requested, onto  the exposed

          attic rafters and  insulation and informed Appellant  that he had

          done so.   About mid-afternoon,  Appellant and Schaller  left the

          restaurant.  At  approximately 4:00 p.m. that same afternoon, the

          Westport  Fire  Department  responded  to a  complaint  from  the

          restaurant  that there  was  a strong  odor  of gas,  which  both

          patrons  and  employees at  the restaurant  had detected.   After

          evacuating   the  building,   the  firefighters   discovered  the


                                         -4-














          gasoline-soaked  boards and  insulation  as well  as evidence  of

          charring  on the attic floor and ceiling.   According to the fire

          department, the charring was unrelated to the much larger area of

          the  attic  that  was  saturated with  gasoline,  representing  a

          separate, previous attempt to start a fire. 

                    A few  days later, Schaller admitted to the police that

          he  had  poured  the  gasoline.    Although  Appellant  told  law

          enforcement  officials  that he  would  fire  Schaller when  they

          informed  him of  Schaller's  confession,  Appellant never  fired

          Schaller, and Schaller worked at the restaurant until it  closed.

          On December 6,  1993, Schaller entered  a plea  of guilty to  the

          federal indictment charging him  with the second attempted arson.

          Pursuant to his plea  agreement, he agreed to cooperate  with law

          enforcement  officials.   As part  of that  cooperation, Schaller

          engaged  in  four conversations  -- three  in  person and  one by

          telephone -- with Appellant that were recorded by law enforcement

          agents.1   In July 1994,  a two count indictment  was returned by

          the federal grand jury charging Appellant with attempted arson of

          a building affecting interstate commerce under 18 U.S.C.   844(i)

          and conspiracy to commit arson under 18 U.S.C.    371.   Prior to

          trial,  Appellant  filed  a  motion  in  limine  to exclude  from
                                               __________

          evidence the  four recorded  conversations between  Appellant and

          Schaller,   which  included  incriminating   statements  made  by



                              
          ____________________

          1  The conversations  occurred on February 24, March  1, March 4,
          and May 25 of 1994.  

                                         -5-














          Appellant.   After  a hearing,  the court  denied the  motion and

          admitted the tapes after certain portions were excised. 

                    During a  nine-day trial on  the merits, in  which nine

          witnesses  testified for  the  prosecution  (including  Schaller,

          pursuant to  his plea  agreement), the prosecution  presented its

          theory that Appellant attempted  to burn the restaurant in  order

          to  recover  insurance  proceeds   to  finance  renovations   and

          improvements  of  the  restaurant.    The  defense  called  three

          witnesses, including McKenna.  Among other matters, the witnesses

          testified that Schaller's reputation for truthfulness was "zero;"

          that  the  business interruption  insurance  was  purchased as  a

          result  of significant storms which had caused the Galleria II to

          close; that, after  leaving with Schaller during the afternoon of

          February 22,  Appellant  had no  intention  of returning  to  the

          restaurant;  and   that  Appellant was  with  McKenna during  the

          evening of February 22, planning their  next day's business trip.



                    During the trial, Appellant moved for a mistrial, which

          was denied, on the grounds that improper testimony regarding  his

          ownership of a  "gay night club"  was prejudicial.   Both at  the

          close of the government's  case-in-chief and at the close  of all

          the evidence, Appellant  moved for judgment  of acquittal on  the

          ground that the evidence was  insufficient to establish that  the

          Galleria II  was a building  affecting interstate commerce.   The

          district court denied both motions.  




                                         -6-














                    Based  on the  foregoing and  other evidence,  the jury

          convicted  Appellant on  February  10, 1995,  on  both counts  of

          attempted  arson  and  conspiracy  to commit  arson.    Appellant

          subsequently  moved  for a  new  trial which  the  district court

          denied.   On May 25, 1995, the district court sentenced Appellant

          to a term of  seventy-eight (78) months' imprisonment, imposed  a

          fine of $12,500, restitution to the Westport Police Department in

          the  amount of $386, and ordered supervised release for three (3)

          years.  Appellant  appeals both his conviction  and his sentence.

          We  have jurisdiction pursuant to  Rule 4(b) of  Federal Rules of

          Appellate Procedure. 

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                  I.  Appellant's Motions for Judgment of Acquittal
                  I.  Appellant's Motions for Judgment of Acquittal

                    Appellant claims reversible error  in the denial of his

          motions  for judgment  of acquittal.   See Fed.  R. Crim.  P. 29.
                                                 ___

          Below, Appellant  based his motions for  acquittal on sufficiency

          of the evidence  grounds, which included the argument  that there

          was  insufficient  evidence  to  prove  the  requisite  nexus  to

          interstate  commerce  under  the  federal  arson  statute.2    On

                              
          ____________________

          2  The federal arson statute provides:

                      Whoever maliciously  damages or destroys,
                      or  attempts  to  damage or  destroy,  by
                      means  of  fire  or  an   explosive,  any
                      building,  vehicle,  or  other   real  or
                      personal property used  in interstate  or
                      foreign  commerce  or  in   any  activity
                      affecting interstate  or foreign commerce
                      . . . [is guilty of a crime].

          18 U.S.C.   844(i) (1994). 

                                         -7-














          appeal, he  raises new  arguments  based on  the Supreme  Court's

          decision in United States v. L pez, ___ U.S. ___, 115 S. Ct. 1624
                      _____________    _____

          (1995), which struck down the Gun Free School Zone Act, 18 U.S.C.

             922(q), as  exceeding Congress'  authority under  the Commerce

          Clause3 to  regulate interstate  commerce.  Appellant  now argues

          that,  in   light  of  L pez,   the  federal  arson   statute  is
                                 _____

          unconstitutional and that, accordingly, the district court lacked

          subject  matter  jurisdiction.   In  the  alternative,  Appellant

          argues that under  L pez there is insufficient  evidence to prove
                             _____

          that the Galleria II was a building that "substantially affected"

          interstate commerce.

                    Specifically,  Appellant  now  claims  that  this  is a

          simple state arson  case which  Congress has no  power under  the

          Commerce Clause to federalize and thereby undercut Massachusetts'

          power to prosecute Appellant  under its own arson statute,  Mass.

          Gen. Laws  Ann. ch.  266,    1.   In  support  of this  argument,

          Appellant insists that  L pez effectively  overruled the  Supreme
                                  _____

          Court's earlier  decision in Russell  v. United States,  471 U.S.
                                       _______     _____________

          858, 859  (1985), which concluded that the  federal arson statute

          expresses Congressional  intent to exercise its  full power under

          the  Commerce Clause.    Id. (holding  that  rental property  was
                                   __

          property used in an activity affecting interstate commerce within

          the  meaning  of  the  federal  arson  statute).    Consequently,

                              
          ____________________

          3    Under  the  Commerce  Clause, Congress  is  empowered  "[t]o
          regulate  Commerce with  foreign Nations,  and among  the several
          States, and  with the Indian Tribes."   U.S. Const. art.  I,   8,
          cl. 3.

                                         -8-














          Appellant challenges the "continuing  viability" of United States
                                                              _____________

          v. Medeiros, 897 F.2d 13  (1st Cir. 1990), in which we  held that
             ________

          after  Russell  rental   property  is   per  se   "unquestionably
                 _______                          _______

          sufficiently   connected   to  interstate   commerce   to  confer

          jurisdiction"  and  satisfy  the  jurisdictional  element  of the

          federal arson statute.  Id. at 16-17.  Appellant,  thus, urges us
                                  __

          to  reexamine  our  holding  in  Medeiros   in  light  of  L pez'
                                           ________                  _____

          "substantially  affect"  nexus  requirement  between  the illegal

          activity and interstate commerce,  and reverse his convictions on

          the grounds that the  evidence does not prove that  the attempted

          arson  of  the  Galleria  II  "substantially affects"  interstate

          commerce.

                     1.  The Constitutionality of Section 844(i)
                     1.  The Constitutionality of Section 844(i)

                                A.  Standard of Review
                                A.  Standard of Review

                    Although  Appellant  failed  to raise  his  L pez-based
                                                                _____

          challenge below,4 a claim  that a statute is  unconstitutional or

          that  the court lacked jurisdiction  may be raised  for the first

          time on  appeal.  United States  v. Seuss, 474 F.2d  385, 387 n.2
                            _____________     _____

          (1st Cir.), cert. denied., 412 U.S. 928 (1973); see also, Fed. R.
                      _____________                       ________

          Crim. P. 12(b)(2)  (lack of  jurisdiction may be  noticed by  the

          court  at  any  time).     We  review  a  determination   of  the
                              
          ____________________

          4   Appellant did not  make these L pez-based  arguments below as
                                            _____
          L pez had  not yet been decided.  We note that Appellant does not
          _____
          argue  that we must consider L pez even though rendered after his
                                       _____
          trial because it establishes a new rule for criminal prosecutions
          and must be applied retroactively.  See Griffith v. Kentucky, 479
                                              ___ ________    ________
          U.S.  314 (1987); United  States v. Melvin, 27  F.3d 703, 707 n.4
                            ______________    ______
          (1st Cir.  1994).   We  need not  address this  issue, or  decide
          whether this  case falls within Griffith,  because, regardless of
                                          ________
          waiver, Appellant does not prevail on the merits.

                                         -9-














          constitutionality  of  a federal  statute  de novo.    See United
                                                     _______     ___ ______

          States  v.  D az-Mart nez,  71  F.3d 946,  953  (1st  Cir.  1995)
          ______      _____________

          (applying,  without  explicitly stating  so,  de  novo review  to
                                                        ________

          L pez-based  constitutional challenge not raised during pre-L pez
          _____                                                       _____

          proceedings);  United States  v. Sherlin,  67 F.3d  1208, 1213-14
                         _____________     _______

          (6th  Cir.   1995)  (applying  de  novo   review  to  L pez-based
                                         ________               _____

          constitutional  challenge to  the federal  arson  statute), cert.
                                                                      _____

          denied, 116 S. Ct. 795 (1996); United States v. Aguilar-Aranceta,
          ______                         _____________    ________________

          957 F.2d  18, 21 (1st Cir. 1992)  (reviewing de novo questions of
                                                       _______

          constitutional  law).  But see  United States v.  Spires, 79 F.3d
                                 _______  _____________     ______

          464, 465 (5th Cir.  1996) (reviewing only for plain  error L pez-
                                                                     _____

          based constitutional challenge not raised below during  pre-L pez
                                                                      _____

          proceedings);  United States v. Dupaquier,  74 F.3d 615, 619 (5th
                         _____________    _________

          Cir.  1996) (same); Daigle v. Maine Medical Center, Inc., 14 F.3d
                              ______    __________________________

          684,  687-88 (1st  Cir. 1994)  ("The raise-or-waive  rule applies

          with full  force to constitutional challenges.").   Regardless of

          what standard  of review we  apply, the result is  the same since

          even  under  the  more  favorable de  novo  standard,  we  reject
                                            ________

          Appellant's constitutional and jurisdictional challenges, finding

          that L pez in no way provides grounds for reversal in this case.
               _____

                                    B.  Discussion
                                    B.  Discussion

                    As  with  the  federal  arson statute  at  issue  here,

          Congress  has  often invoked  its  authority  under the  Commerce

          Clause  to federalize  criminal  activity.   Appellant points  to






                                         -10-














          L pez and its invalidation  of the Gun  Free School Zone Act5  as
          _____

          evidence  that  the  Supreme   Court's  present  position  is  to

          restrictively  interpret the Commerce Clause when it is used as a

          foundation for a criminal statute.  See L pez, 115 S. Ct. at 1631
                                              ___ _____

          n.3  ("Under  our federal  system,  the  'States possess  primary

          authority for defining and  enforcing the federal law.'" (quoting

          Brecht  v. Abrahamson,  507 U.S.  619, 635  (1993))).   The L pez
          ______     __________                                       _____

          Court recognized three categories  of activity which Congress may

          regulate  under the Commerce Clause: (i) "the use of the channels

          of   interstate   commerce";  (ii)   "the   instrumentalities  of

          interstate commerce, or persons or things in interstate commerce,

          even though the threat may come only from intrastate activities";

          and  (iii) "those activities that substantially affect interstate

          commerce."  L pez, 115 S. Ct. at 1629-30.  
                      _____

                    After L pez,  the Court  explained in United  States v.
                          _____                           ______________

          Robertson, ___ U.S.  ___, 115  S. Ct. 1732  (1995) (per  curiam),
          _________

          that   these   three  bases   of   congressional   authority  are

          analytically  distinct,  reaffirming   the  distinction   between

          activities engaged  in interstate commerce  and purely intrastate

          activities  having a  substantial effect on  interstate commerce.

          See Robertson, ___ U.S. at  ___, 115 S. Ct.  at 1733.  The  Court
          ___ _________

          stated  that the "'affecting commerce'  test was developed in our

          jurisprudence to define the extent of Congress' power over purely

          intrastate   commercial   activities   that    nonetheless   have
          _____
                              
          ____________________

          5   This Act  made it  a federal offense  to knowingly  possess a
          firearm  at a place that  the individual knows  or has reasonable
          cause to believe is a school zone.  

                                         -11-














          substantial interstate effects."  Id. at ___, 115 S. Ct. at  1733
                      _____                 ___

          (emphasis  in original)  (concluding that  transporting equipment

          and workers from out of  state fell within 18 U.S.C.    1962(a)'s

          alternative criterion without regard to the  "affecting commerce"

          test). 

                    We consider  the federal arson statute  and the Court's

          pre-L pez  holding  in  Russell   in  light  of  this  framework,
              _____               _______

          concluding that  L pez does  not invalidate 18  U.S.C.    844(i).
                           _____

          First, by its plain language,  Section 844(i) clearly falls under

          both  the second and third  L pez categories in  that it protects
                                      _____

          property that is  either "used in interstate  or foreign commerce
                                         __

          or in any activity affecting interstate or foreign commerce."  18
             _______________

          U.S.C.   844(i) (emphasis added).  

                    Second,   the  federal   arson  statute   contains  the

          requisite   "jurisdictional   element"   and  thus   is   readily

          distinguishable from the provision  invalidated in L pez.   As we
                                                             _____

          recently  noted  in D az-Mart nez,  the  Supreme  Court in  L pez
                              _____________                           _____

          "found significant that  the statute  in that case,  18 U.S.C.   

          922(q) [the federal firearms possession statute], 'contain[ed] no

          jurisdictional  element which would  ensure, through case-by-case

          inquiry,  that  the  firearm   possession  in  question   affects

          interstate commerce.'"   D az-Mart nez,  71 F.3d at  953 (quoting
                                   _____________

          L pez, 115  S. Ct. at  1631).   We held that,  unlike L pez,  the
          _____                                                 _____

          jurisdictional element  was present in 18 U.S.C.   922(k) because

          it  contains  a specific  requirement that  the firearm  with the

          obliterated serial  number have  been "shipped or  transported in


                                         -12-














          interstate  or  foreign commerce."    18  U.S.C.   922(k);  D az-
                                                                      _____

          Mart nez, 71 F.3d at  953 (holding that "[w]hatever the  reach of
          ________

          L pez, it does not invalidate  18 U.S.C.   922(k)").  Here,  too,
          _____

          the  federal arson statute  contains the requisite jurisdictional

          element which similarly ensures that, case-by-case, the  property

          damaged by  the arson must  have been "used  in interstate .  . .

          commerce or in an activity affecting  interstate . . . commerce."

          18 U.S.C.   844(i).  

                    Third, while  the federal  arson statute is  similar to

          that struck down in L pez in that it does not regulate commercial
                              _____

          or economic activity, see United States v. Pappadopoulos, 64 F.3d
                                ___ _____________    _____________

          522,  526-27  (9th Cir.  1995), it  does  regulate the  damage or

          destruction of  business property  that  satisfies the  requisite

          interstate nexus, see Russell, 471  U.S. at 860-62 ("Congress  at
                            ___ _______

          least intended to protect  all business property"); United States
                                                              _____________

          v. Flaherty, 76  F.3d 967, 974 (8th Cir. 1996).   Particularly in
             ________

          the absence of any mention of Russell in the  majority opinion of
                                        _______

          L pez, we can find  no reason to conclude that  L pez invalidates
          _____                                           _____

          Russell's analysis  of Section 844(i)'s  purpose and  legislative
          _______

          history  or  its  conclusion   that  the  federal  arson  statute

          constitutionally  regulates  arson   of  business  property  that

          satisfies  the requisite  jurisdictional element.   Russell,  471
                                                              _______

          U.S. at 860-62.   After all, whatever L pez' reach,  it certainly
                                                _____

          did not  purport to overrule  cases upholding application  of the

          Commerce Clause power to wholly intrastate  activities satisfying




                                         -13-














          the requisite nexus to interstate commerce.  See United States v.
                                                       ___ _____________

          Genao, 79 F.3d 1333, 1336 (2d Cir. 1996).
          _____

                    Furthermore,  we  reject   Appellant's  argument   that

          Section 844(i) is unconstitutional because it improperly intrudes

          into Massachusetts' primary authority for defining and  enforcing

          the criminal law.   By virtue of the fact  that the federal arson

          statute  is  a  criminal  law  it indeed  intrudes  upon  states'

          traditional dominion over the criminal law.  L pez, 115 S. Ct. at
                                                       _____

          1631 n.3 ("Under our federal  system, the 'States possess primary

          authority for defining and enforcing the criminal law.'" (quoting

          Abrahamson, 507 U.S. at 635)).  However, "not every federal foray
          __________

          into criminal law is invalid."  United States v. Bishop, 66  F.3d
                                          _____________    ______

          569,  584 (3d Cir. 1995)  (rejecting L pez-based challenge to the
                                               _____

          constitutionality of  the federal  carjacking statute, 18  U.S.C.

            2119).   Where, as  here, the  criminal  statute satisfies  the

          constitutional limits  of the Commerce Clause,  it withstands the

          challenge that it  interferes with the states' ability  to define

          and enforce the criminal law.   See Russell, 471 U.S.  at 860-62.
                                          ___ _______

          Finally, we note that we join  our fellow circuits in arriving at

          the  conclusion that  18  U.S.C.    844(i) passes  constitutional

          muster under L pez.   See, e.g., Flaherty, 76 F.3d at 974; United
                       _____    ___  ____  ________                  ______

          States v. Denalli, 73 F.3d 328, 329 (11th Cir. 1996); Sherlin, 67
          ______    _______                                     _______

          F.3d at 1213-14; Pappadopoulos, 64 F.3d at 526. 
                           _____________

                    Because  we  find no  basis  to  question the  presumed

          validity of 18  U.S.C.    844(i), we conclude  that the  district

          court  properly  had  subject-matter  jurisdiction  conferred  by


                                         -14-














          virtue  of the fact that  Appellant was charged  with an "offense

          against the United States."  18 U.S.C.   3231.  See United States
                                                          ___ _____________

          v.  Ryan, 41 F.3d  361, 363-64 (8th  Cir. 1994)  (noting that "if
              ____

          [the  jurisdictional] element is  not satisfied, then [defendant]

          is  not guilty; but the  court is not by  the failure of proof on

          that element deprived of judicial jurisdiction.").

                           2.  Sufficiency of the Evidence
                           2.  Sufficiency of the Evidence

                    With  respect  to  Appellant's  claim  that  there  was

          insufficient  evidence  to  sustain  his  convictions,  Appellant

          "faces an uphill climb," United States v. Valle, 72 F.3d 210, 216
                                   _____________    _____

          (1st Cir. 1995).  "If the evidence  presented, taken in the light

          most  agreeable  to  the  government,  is  adequate  to permit  a

          rational  jury to find each  essential element of  the offense of

          conviction beyond  a reasonable  doubt, then [Appellant's]  claim

          fails."    Id.  (citations omitted).    As  the  district court's
                     ___

          disposition of a motion  for judgment of acquittal is  subject to

          de novo review, we,  "like the trial court, must  'scrutinize the
          _______

          evidence in the  light most compatible with  the verdict, resolve

          all credibility disputes in the verdict's favor, and then reach a

          judgment  whether  a rational  jury  could  find guilt  beyond  a

          reasonable doubt.'" Id. (quoting United States v. Taylor, 54 F.3d
                              ___          _____________    ______

          967, 974 (1st Cir. 1995)).  

                    After thoroughly  reviewing  the record6  and  applying

          these  straightforward rules,  we are  convinced that  a rational
                              
          ____________________

          6   We included in our  review of the record  the challenged tape
          recordings because, as we  explain below, we find that  they were
          properly admitted into evidence. 

                                         -15-














          jury  could  have  found  beyond  a  reasonable  doubt  that  the

          government  had  successfully  proved  each of  the  elements  --

          including,  as we  discuss more  thoroughly below,  the requisite

          nexus  to interstate commerce --  of both Appellant's attempt and

          conspiracy convictions.  Credibility determinations  are uniquely

          within the jury's province; and, we defer to their determinations

          and the verdict if  the evidence can support  varying inferences.

          See, e.g., United States v. Cruz-Kuilan, 75 F.3d 59, 62 (1st Cir.
          ___  ____  _____________    ___________

          1996); United States  v. Gonz lez-Torres, 980 F.2d  788, 790 (1st
                 _____________     _______________

          Cir. 1992).  Here, the record clearly supports the verdict.  That

          the  jury  chose  to  believe  the  testimony  presented  by  the

          government, particularly  that of Schaller,  and disbelieve  that

          presented by the defense was well within its province.  

                    As part of our sufficiency  of the evidence review,  we

          must determine  whether the  requisite jurisdictional  element is

          met.  Because  it constitutes a  jurisdictional predicate of  the

          substantive  offense, this  "jurisdictional element,"  like other

          elements of  the offense,  must be  proved to the  jury beyond  a

          reasonable doubt.   See Pappadopoulos, 64 F.3d  at 524; Medeiros,
                              ___ _____________                   ________

          897 F.2d  at 15-17 (stating that the  government need only show a

          de minimis connection to interstate commerce in order  to satisfy
          __________

          this element).  Thus,  in order for Appellant to be  found guilty

          under  the federal arson  statute, the  government had  to prove,

          among other things,  that the  property was either  "used in"  or

          "used in an activity affecting" interstate commerce.  18 U.S.C.  

          844(i).  This  involves identifying for what activity  or purpose


                                         -16-














          the building is  "used."  Cf. Medeiros, 897  F.2d at 16 (focusing
                                    __  ________

          on the character of a  fictitious building in determining whether

          it was sufficiently connected to interstate commerce). 

                    On appeal, Appellant argues that there  is insufficient

          evidence to  prove that the Galleria II was a building used in or

          affecting interstate commerce,  because under L pez  the evidence
                                                        _____

          does  not  prove  that   the  building  "substantially   affects"

          interstate  commerce.  Because Appellant did not raise this L pez
                                                                      _____

          argument  below, we  review  only for  plain  error the  district

          court's ruling  on the sufficiency of the  evidence regarding the

          jurisdictional element.   United States  v. Olano, 507  U.S. 725,
                                    _____________     _____

          732 (1993) ("There must  be an 'error'  that is 'plain' and  that

          'affect[s] substantial  rights.'"); United  States  v. Brand,  80
                                              ______________     _____

          F.3d 560, 567-68 (1st Cir. 1996) (discussing Olano).
                                                       _____

                    We  find no plain error.   At the  time of the district

          court's decision, L pez had not yet been decided and there was no
                            _____

          reason  for  the district  court  to  question  the viability  of

          Russell or  Medeiros.  Under  Medeiros, the government  need only
          _______     ________          ________

          show, and  the jury need  only find,  a de minimis  connection to
                                                  __________

          interstate commerce  in order  to sustain  a conviction  under 18

          U.S.C.     844(i).   Medeiros,  897  F.2d at  16-17.   Here,  the
                               ________

          government presented uncontested evidence  that the object of the

          attempted  arsons was  a "building"  that was  being "used"  as a

          commercial establishment,  the Galleria II restaurant.   The jury

          was  presented  with evidence  that  Appellant  and his  partners

          rented  the building; that the building was supplied with natural


                                         -17-














          gas  which   traveled  in  interstate  commerce;   and  that  the

          restaurant  received  food  supplies   for  its  operation  which

          traveled in  interstate commerce.  Indeed,  Appellant conceded at

          oral  argument  that  the  building  was  used  as  a  commercial

          establishment which  received food  supplies and natural  gas for

          its  operation  that  travelled  in  interstate  commerce.    The

          district court correctly instructed  the jury that the government

          had to prove  beyond a reasonable doubt that the  Galleria II was

          property  "used  in  or  [sic]  affected  interstate  or  foreign

          commerce."7   Viewing the evidence in the light most favorable to

          the jury verdict, this evidence  more than satisfies Medeiros' de
                                                               ________  __

          minimis   requirement,  and   we  therefore   reject  Appellant's
          _______

          insufficiency of  the evidence  argument.8   See, e.g., Ryan,  41
                                                       ___  ____  ____
                              
          ____________________

          7  The  court further instructed  the jury: "Interstate  commerce
          means commerce or  business between  any place in  one state  and
          another place outside that state.  It also means commerce between
          places  within  the same  state,  but passing  through  any place
          outside that state."  Finally, the court stated:  "Now, business-
          related  property,  as   opposed  to  residential  property,   is
          considered used  in or  affecting interstate or  foreign commerce
          even if  it has only a  de minimis affect [sic]  on interstate or
                                  __________
          foreign  commerce.   For  example,  business-related property  is
          considered used in or affecting interstate or foreign commerce if
          food or drink which  has moved in interstate or  foreign commerce
          is sold there, or if oil or gas which has moved in  interstate or
          foreign commerce is  used in  the building."   Appellant did  not
          object to this instruction below or specifically challenge  it on
          appeal.

          8  We need not address Appellant's contention that our holding in
          Medeiros  that  the  government  need  only  show  a  de  minimis
          ________                                              ___________
          connection to interstate  commerce is invalidated  by L pez.   We
                                                                _____
          merely note that  while the  L pez decision did  not address  the
                                       _____
          amount of  evidence required to prove  an explicit jurisdictional
          element  of an offense,  see Flaherty, 76 F.3d  at 974, this does
                                   ___ ________
          not necessarily mean that it is not controlling  when determining
          how  significant the connection to interstate commerce must be in
          order to satisfy the jurisdictional element, see Denalli, 73 F.3d
                                                       ___ _______

                                         -18-














          F.3d at 364 (the  de minimis standard  "is easily met, even  when
                            __________

          the property is  temporarily closed or vacant");  U.S. v. Menzer,
                                                            ____    ______

          29  F.3d  1223,  1229  (7th Cir.)  (finding  interstate  commerce

          connection where  building  used partly  as  commercial  business

          received natural gas and items purchased for resale that moved in

          interstate  commerce),  cert.  denied,  115 S.  Ct.  515  (1994);
                                  _____________

          Medeiros, 897  F.2d at 16 (holding that rental property is per se
          ________                                                   ______

          property used in an activity affecting interstate commerce). 

                    We only  add this:   Even assuming L pez  requires more
                                                       _____

          than a de  minimis showing, we nonetheless find that the jury was
                 ___________

          presented with  sufficient evidence  to support its  finding that

          the Galleria  II was a building  either "used in" or  "used in an

          activity  affecting" interstate  commerce.   Above,  we found  no

          reason  to  think  that  L pez  in  any  way  undercut  Russell's
                                   _____                          _______

          conclusion that Congress has  the authority to regulate arson  of

          business  property.9   Similarly,  we find  no basis  to conclude

          that  L pez in any  way undercuts Russell's  holding that "rental
                _____                       _______

          property is unquestionably" an "activity" that affects interstate

          commerce within the meaning of 18  U.S.C.   844(i).  Russell, 471
                                                               _______

          U.S.  at 862  ("We need not  rely on  the connection  between the
                              
          ____________________

          at   330-31  (finding   arson  of   private  residence   did  not
          substantially affect interstate commerce); Pappadopoulos, 64 F.3d
                                                     _____________
          at 527 (same).

          9   See  generally,  Thomas  J.  Egan, Note,  The  Jurisdictional
              ___  _________
          Element of 18 U.S.C.  844(i), A Federal Criminal Commerce  Clause
          Statute, 48 Wash. U.J. Urb. &amp; Contemp. L. 183, 208 (1995) (noting
          that  "the controversy of   844(i) jurisdiction boils down to one
          issue  -- in addition to business property, what types of private
                    ________________________________
          property trigger federal jurisdiction in arson cases?") (emphasis
          added).

                                         -19-














          market  for residential  units  and the  'interstate movement  of

          people,'  to recognize that the local rental of an apartment unit

          is  merely  an element  of a  much  broader commercial  market in

          rental  properties." (quoting McLain v.  Real Estate Board of New
                                        ______     ________________________

          Orleans, 444 U.S. 232, 245 (1980))); cf. Sherlin, 67 F.3d at 1213
          _______                              __  _______

          (finding that  building used  in educational business  of college

          was building used in  an activity affecting interstate commerce).

          We, thus, reaffirm  our holding in Medeiros that  rental property
                                             ________

          is per se sufficiently connected to interstate commerce to confer
             ______

          federal  jurisdiction under  Section  844(i) and  to satisfy  the

          jurisdictional element.  See  Medeiros, 897 F.2d at 16.   Because
                                   ___  ________

          uncontested  evidence was  presented  that, at  the  time of  the

          attempted fires, Appellant and his partner rented the building in

          which the Galleria II  was operated, the jury was  presented with

          sufficient evidence to  find that  the building was  "used in  an

          activity affecting" interstate commerce  within the meaning of 18

          U.S.C.   844(i)'s second category.  

                    Even assuming further that L pez undermines Russell and
                                               _____            _______

          Medeiros' holding regarding rental property, we would nonetheless
          ________

          affirm  the jury's  finding.   Because  uncontested evidence  was

          presented below  that  the  building  was used  as  a  commercial

          establishment which  received food  supplies and natural  gas for

          its operation that travelled in interstate commerce, the Galleria

          II  also  falls within  18 U.S.C.     844(i)'s "real  or personal

          property  used  in  interstate .  .  .  commerce."   Because  the

          Galleria II was property used in interstate commerce, we need not
                                   _______


                                         -20-














          address   whether   its  activities   "substantially  affect[ed]"

          interstate commerce.  Cf.  Robertson, ___ U.S. at ___, 115 S. Ct.
                                ___  _________

          at 1733.

                    In  sum, because we are  convinced that a rational jury

          could  have found beyond  a reasonable doubt  that the government

          had  successfully proved  each  of the  elements,  we affirm  the

          district court's denial of Appellant's motions for acquittal.

                         II.  Appellant's Motion for Mistrial
                         II.  Appellant's Motion for Mistrial

                    Appellant also appeals  the denial of his  motion for a

          mistrial on the grounds  that improper testimony was prejudicial.

          We review the district court's  decision for abuse of discretion.

          United States v. Rivera-G mez,  67 F.3d 993, 998 (1st  Cir. 1995)
          _____________    ____________

          ("The  trial  judge  is  best  situated  to  make  a  battlefield

          assessment of  the  impact that  a particular  piece of  improper

          information may have on a jury."); United States v. Sep lveda, 15
                                             _____________    _________

          F.3d  1161, 1184 (1st Cir.  1993) ("Granting or  denying a motion

          for   mistrial  is  a  matter  committed  to  the  trial  court's

          discretion."),  cert.  denied, ___  U.S.  ___,  114 S.  Ct.  2714
                          _____________

          (1994).  

                    Appellant argues  that the  district  court abused  its

          discretion when it denied his motion for a mistrial which he made

          after Schaller testified that Appellant owned "a gay night club."

          The trial transcript shows that  Schaller testified on direct  as

          follows:

                    Q:   Now,  in the beginning of the restaurant
                         when it first opened,  how often did you
                         speak  with  the  defendant   about  the
                         Galleria II Restaurant?

                                         -21-














                    A:   On a daily basis.

                    Q:   When you say "daily  basis," was that on
                         the phone or in person?

                    A:   Usually in person.

                    Q:   Where was that?

                    A:   At the club that  he owns in Providence,
                         Gerardo's.

                    Q:   What type of club is that?

                    A:   A gay night club.

          (Transcript, Vol. 4 at 98-99).  At this point, Appellant objected

          to  the comment and moved for a  mistrial on the grounds that the

          "comment  was completely gratuitous .  . . [a]nd  it was designed

          specifically to, solely to[,]  inflame the passions and prejudice

          of this jury."  (Transcript, Vol. 4 at 99).  

                    Although the court seemed  to agree with the government

          that  the   information  was  offered  as   "strictly  background

          information,"  the  court  was nonetheless  concerned  about  the

          possibility  that some jurors "may  have a view  that someone who

          runs a gay bar may  not be an upstanding citizen."   (Transcript,

          Vol. 4  at 99-100).  The  court decided to speak  with the jurors

          individually to ascertain  (i) whether the juror  was affected by

          the testimony in  any way;  (ii) whether the  juror would  remain

          impartial; and (iii) whether the juror would  be able to render a

          verdict based on the  evidence and the  law as instructed by  the

          court, without regard to  the fact that Appellant operated  a gay

          night club.  After every juror responded that he or she would not

          be affected by  the testimony  in rendering his  or her  verdict,


                                         -22-














          (Transcript, Vol. 4 at 101-12), the court concluded, "All  right.

          I'm satisfied."  (Transcript, Vol. 4 at 113).  At this point, and

          without further  comment by counsel,  testimony resumed.   At the

          end of trial,  Appellant did not request any additional questions

          be asked of  the jurors  or that any  additional instructions  be

          given. 

                    Based on  the record,  and under the  guiding principle

          that a  district court  may declare  a mistrial  only as  a "last

          resort,"  Sep lveda, 15 F.3d at  1184, we find  that the district
                    _________

          court's  decision  "was  well  within  the  broad  range  of  its

          discretion." Rivera-G mez,  67 F.3d at  999.  The  district court
                       ____________

          properly weighed the claim of impropriety and determined  that it

          was  unfounded based  on his  voir dire  of the  jurors.   United
                                                                     ______

          States  v. Hahn, 17  F.3d 502, 508  (1st Cir.  1994) ("A mistrial
          ______     ____

          need  not be  allowed  absent a  clear  showing of  prejudice.").

          Moreover, the district court acted swiftly  by polling the jurors

          immediately after  the improper testimony.10   Sep lveda, 15 F.3d
                                                         _________

          at 1185 ("Swiftness in judicial  response is an important element

          in  alleviating prejudice  once  the  jury  has been  exposed  to

          improper testimony.").   The government argues  that this polling

          effectively provided a curative  instruction that the jurors were

          not to consider evidence that Appellant operated a gay night club

                              
          ____________________

          10  In deciding  when to "instruct the  jurors," the court  noted
          that "[t]he question is should  we go on now, or should  I [speak
          to the jurors] at this point?"  Appellant responded that "I think
          I should  know the answer.   It makes  sense to us,  doesn't it?"
          The court agreed and  spoke individually with each of  the jurors
          at that time. (Transcript, 4-101).  

                                         -23-














          in determining guilt or innocence.  Given the questions asked and

          the  responses  received,  we   agree  that  the  district  court

          "efficaciously  dispelled" any  prejudicial effect  of Schaller's

          statement by  its immediate  and thorough  response.  See  United
                                                                ___  ______

          States  v.  Bello-P rez,  977  F.2d  664,  672  (1st  Cir.  1992)
          ______      ___________

          (affirming denial of motion for mistrial where "[a]ny prejudicial

          effect  of the  remark was  efficaciously dispelled").   Finally,

          given  the overwhelming  evidence of  guilt presented  during the

          trial, the challenged testimony  was innocuous.  Bello-P rez, 977
                                                           ___________

          F.2d  at  672  (denying  mistrial  where  evidence  of  guilt was

          overwhelming). 

            III.  Appellant's Motion for a New Trial and Motion in Limine
            III.  Appellant's Motion for a New Trial and Motion in Limine
                                                                _________

                    Third, Appellant appeals the denial of his motion for a

          new trial, arguing that the district court  abused its discretion

          in denying his motion  in limine11 to exclude from  evidence four
                                 _________

          tapes of  recorded conversations between himself  and Schaller in

          February, March and May 1994.   As the motion for a  new trial is

          not properly before  us on appeal,12 we  only address Appellant's
                              
          ____________________

          11   When  the  tapes  were  admitted  into  evidence,  Appellant
          reiterated  his objections  to  the admissibility  of the  tapes,
          which he  first  had  raised  in  his  motion  in  limine.    See
                                                         __________     ___
          Transcript,  Vol. 5  at 48.    Thus, we  find  the present  claim
          properly preserved for appeal. 

          12   On  February  24, 1995,  -- fourteen  days after  the guilty
          verdict was rendered -- Appellant filed a motion for a new  trial
          and to extend time  to file supporting memorandum.   The district
          court  denied  both motions  on the  grounds  that they  were not
          timely  filed pursuant to Fed.  R. Crim. P.  33 (providing, inter
                                                                      _____
          alia, seven-day filing  period from the  guilty verdict, or  such
          ____
          time  as the court may  fix during the  seven-day period, "unless
          based  on the ground of newly discovered evidence" in which event
          it may be filed within two  years after final judgment) and  Fed.

                                         -24-














          motion  in limine.13   Appellant  argued below,  as he  does now,
                  _________

          that the tapes should  have been excluded in their  entirety from

          evidence  because  (i) their  probative  value  was substantially

          outweighed  by their prejudicial effect  under Fed. R. Evid. 403,

          even  after  certain  portions  were  redacted;  (ii)  they  were

          improperly  admitted as  evidence  of "other  crimes, wrongs,  or

          acts" under Fed. R. Evid. 404(b); and (iii) portions of them were

          partially or  wholly unintelligible  which thereby  rendered them

          more misleading than helpful.14  

                    Here, the  court listened  to the four  tapes, reviewed

          their respective  transcripts, and heard arguments  of counsel on

          the  admissibility of  both the  tapes and  the transcripts.   In

                              
          ____________________

          R.  Crim. P. 45(b)  (providing that the court  may not extend the
          time  for any  action under, inter  alia, Fed.  R. Crim.  P. 33).
                                       ___________
          Because  Appellant's  motion  was  not timely  filed  below,  and
          because his arguments on appeal  do not involve "newly discovered
          evidence,"  we do  not  address this  motion.   As  we have  held
          before,  Fed. R. Crim. P.  33 is jurisdictional  and the district
          court is  without discretion to  grant a motion  for a  new trial
          that is not timely filed.  See, e.g., United States v. Rogers, 41
                                     ___  ____  _____________    ______
          F.3d 25,  34 (1st Cir.  1994);  United  States v. Lema,  909 F.2d
                                          ______________    ____
          561, 565 (1st Cir. 1990). 

          13  We  note that  distinguishing these two  motions is  somewhat
          meaningless -- as  a practical  matter -- within  the context  of
          this  case,  given  that  the same  abuse-of-discretion  standard
          applies  to  both  motions  and that  Appellant's  sole  argument
          regarding the motion for a new trial is that the court abused its
          discretion in denying the motion in limine. 
                                           _________

          14  In  his motion in limine, Appellant  also sought exclusion on
                             _________
          the  grounds that  portions contained inadmissible  hearsay under
          Fed. R.  Evid. 802.   Appellant  does not  make this argument  on
          appeal.   We assume  the reason for  this is that,  as the record
          shows,  those portions  to  which Appellant  objected on  hearsay
          grounds  were excised  from  the recordings  by agreement  of the
          parties  and the court.   In any  event, as this  argument is not
          properly raised on appeal, we do not address it.

                                         -25-














          denying Appellant's  motion in  limine  to exclude  the tapes  in
                                      __________

          their entirety under Fed.  R. Evid. 403 and 404(b),  the district

          court  found that they were admissible as probative of the issues

          raised in the  case and  that they were  "overall more  relevant"

          than prejudicial.  (Transcript,  Vol. 2 at 12-13).   The district

          court, however,  did allow Appellant to  make specific objections

          of  undue prejudice.    (Transcript, Vol.  2  at 13-15).    After

          hearing  argument from counsel, (Transcript, Vol. 4 at 4-47), the

          district  court   agreed  with   most  of   Appellant's  specific

          objections  and  excluded  those   portions.    With  respect  to

          Appellant's  audibility argument, the  district court  only found

          the  March 1, 1994, tape troubling  in that it "seems  . . . just

          woefully inadequate  for any  reasonable  person to  understand."

          (Transcript, Vol. 2-17).  The  district court's concern was  that

          the  only way to understand  the tape was  to read the transcript

          which  resulted in the transcript -- and the Government's view --

          being  given too much weight.  After considering alternatives and

          hearing  arguments from  counsel, the  district court  decided to

          admit  the tape and allow the transcript because both parties had

          stipulated  to the accuracy of the transcript as a true rendition

          of  the recording.   (Transcript,  Vol.  2 at  4; Vol.  4 at  4).

          Finally, the  district court gave cautionary  instructions to the

          jury that the tapes  were evidence but that the  transcripts were

          not.   The district court  also ruled that  the transcripts would






                                         -26-














          not  be permitted  during deliberations.15   (Transcript,  Vol. 4

          at 4-5). 

                    We  turn   to  Appellant's  arguments,   reviewing  the

          district court's decision to admit or exclude evidence under Fed.

          R. Evid.  403 and  404(b) for  abuse of  discretion.   See, e.g.,
                                                                 ___  ____

          United States v. Frankhauser,  80 F.3d 641, 648 (1st  Cir. 1996);
          _____________    ___________

          United States v.  Cruz-Kuilan, 75  F.3d 59, 61  (1st Cir.  1996).
          _____________     ___________

          The  same  standard  of  review applies  regarding  the  district

          court's decision  to admit the tapes  over Appellant's audibility

          argument.  See  United States  v. Jadusingh, 12  F.3d 1162,  1167
                     ___  _____________     _________

          (1st Cir. 1994) ("As we have held  on numerous occasions, a trial

          judge's ruling on the admission of recordings is  afforded 'broad

          discretion,' even  where portions  of the taped  conversation are

          unintelligible."). 

                               A.  The Tapes' Relevancy
                               A.  The Tapes' Relevancy

                    Evidence is excludable under Fed. R.  Evid. 403 "if its

          probative  value is  substantially  outweighed by  the danger  of

          unfair  prejudice."16    After  reviewing  the  transcript,17  we


                              
          ____________________

          15   We note that Appellant does  not challenge on appeal the use
          of the transcripts. 

          16  Fed. R. Evid. 403 provides in pertinent part:

                      Although   relevant,   evidence  may   be
                      excluded  if  its   probative  value   is
                      substantially outweighed by the danger of
                      unfair   prejudice,   confusion  of   the
                      issues,  or  misleading the  jury,  or by
                      considerations of undue  delay, waste  of
                      time,   or   needless   presentation   of
                      cumulative evidence.

                                         -27-














          find no abuse of  discretion in the district court's  decision to

          not  exclude the  tapes in  their entirety.   In  support  of his

          argument,  Appellant  claims   that  (i)   none  of   Appellant's

          statements prove  any  element  of the  alleged  crimes  or  show

          consciousness  of guilt;  (ii)  the recorded  conversations  took

          place two years after the predicate offenses occurred; (iii) many

          of  Appellant's  arguments were  made  in  response to  questions

          instigated  by the  government  witness; and,  (iv) any  relevant

          conversations  were   intertwined  with  others  that   were  not

          relevant.  We find none of these arguments persuasive.

                    As the district court  found, the tapes included highly

          probative evidence regarding  Appellant's consciousness of guilt,

          including admissions.   The tapes were  directly relevant to  the

          government's theory regarding both Appellant's involvement in the

          attempted  arson and  the  conspiracy.    Indeed,  we  note  that

          Appellant's counsel conceded  as much during  the hearing on  the

          tapes' admissibility:  "I concede,  Judge, that there  were parts

          that, given the Government's position and its interpretation, are

          relevant." (Transcript, Vol. 2 at 12). 

                    For  example, the  February 24,  1994, tape  includes a

          conversation regarding the payment of Schaller's legal fees.  Not

          only  did  it  corroborate Schaller's  testimony  that  Appellant

          assisted  in   the  payment   of  Schaller's  legal   fees,  this
                              
          ____________________

          17    Because  the parties  stipulated  to  the  accuracy of  the
          transcripts  as true recordings  of the tapes, we  do not need to
          actually listen  to the tapes.   In any event, we  note that they
          were not made part  of the district court record  nor included as
          part of the record on appeal.

                                         -28-














          conversation included evidence from which the jury could draw  an

          inference "that this money is  being paid because these gentlemen

          were  in on the deal together."  (Transcript,  Vol. 4 at 9).  The

          March  1, 1994, tape includes  an admission by  Appellant that he

          threw matches to  light the fire during the first  attempt:  "You

          weren't there  when I  threw the  [expletive]  matches the  first

          time."  The March 4, 1994, tape includes an adoptive admission by

          Appellant  regarding his attempts to burn the restaurant during a

          conversation about whether Appellant  had told anyone about those

          efforts.   While Appellant denies telling anybody  else about his

          efforts, he  responds  to Schaller's  questions directly  without

          ever disputing the veracity of what Schaller's questions imply --

          that  Appellant  "tried to  burn it."    The May  25,  1994, tape

          provides  evidence  of  the   conspiracy  between  Schaller   and

          Appellant.   The  conversation demonstrates  that, although  they

          were confused as to  their recollection of what they  believed to

          be their respective roles, they clearly had conspired to burn the

          restaurant.   This  sampling of  each of  the four  tapes clearly

          shows  that,  contrary  to  Appellant's  claims,  the  recordings

          include statements  by Appellant  that are directly  probative of

          both attempts and the conspiracy.

                    Appellant  also points  to the  fact that  the recorded

          conversations  occurred two  years  after  the alleged  offenses,

          arguing that the recordings  are neither closely intertwined with

          the charged  offenses  nor helpful  in  establishing  Appellant's

          intent  to commit the crimes  charged.  Appellant  cites to three


                                         -29-














          cases  addressing the  admissibility  of evidence  under Fed.  R.

          Evid. 404(b).   See United States v. Huff, 959 F.2d 731, 736 (8th
                          ___ _____________    ____

          Cir. 1992); United  States v.  Brookins, 919 F.2d  281, 286  (5th
                      ______________     ________

          Cir. 1990); United States v. Hodges, 770 F.2d 1475, 1480 n.4 (9th
                      _____________    ______

          Cir. 1985).   We agree with these cases that proximity in time is

          a  factor to be considered in determining relevancy under Fed. R.

          Evid.  404(b) of  "other crimes,  wrongs, or  acts."   See, e.g.,
                                                                 ___  ____

          United  States v.  Fields,  871 F.2d  188,  197 (1st  Cir.  1989)
          ______________     ______

          ("Probative value must  be considered in light  of the remoteness

          in time of the other act and the degree of the resemblance to the

          crime  charged."); United States v. Currier, 836 F.2d 11, 17 (1st
                             _____________    _______

          Cir.  1987) (noting that  the prior bad  acts were both  close in

          time  and  in  nature to  the  crime  charged).18   In  addition,

          Appellant also points out that the tapes here are distinguishable

          from  those admitted  in  Currier, based  on  the fact  that  the
                                    _______

          recorded conversations in that case occurred immediately prior to

          and  after the  crime charged  and were,  thus, found  to "help[]

          establish appellant's  intent to  commit the crime  charged." Id.
                                                                        ___

          Because  the  conversations here  occurred  two  years after  the

          predicate offenses,  Appellant contends that the  tapes cannot be

          said  to be so "closely intertwined"  with the predicate offenses
                              
          ____________________

          18  The defendant in Currier objected to the tape at trial on the
                               _______
          basis  of Fed. R.  Evid. 403.   Reasoning that "because  the same
          revelations  of  'skullduggery' that  formed  the  basis for  his
          assertion that  the tape was unfairly prejudicial could also have
          formed  the basis for an  additional assertion that  the tape was
          offered only to show his bad character," we held that defendant's
          Rule  403 objection was sufficient  to preserve a  claim of error
          under Rule 404(b), noting that the two  "usually . . . go hand in
          glove."  Currier, 836 F.2d at 17.
                   _______

                                         -30-














          so as to help  establish Appellant's intent to commit  the crimes

          charged.  

                    We are unswayed by Appellant's arguments.  Here,  as we

          discuss below, no evidence of prior bad acts was admitted in this

          case; and, because Appellant  has not cited to any  cases holding

          that  proximity  in  time   is  a  prerequisite  for  determining

          relevance under  Fed. R. Evid. 403, and because we have not found

          any, we are unconvinced  that the timing of the  conversations is

          of  any   consequence  or   otherwise  undermines   their  strong

          relevance.  See, e.g.,  United States v. Perkins, 926  F.2d 1271,
                      ___  ____   _____________    _______

          1279-80 (1st Cir. 1991)  (finding no error in admission  of post-

          conspiracy statements made to  a government informant where court

          found  statements were an admission corroborating trial testimony

          and  reflected  complicity and  consciousness  of  guilt).   Even

          assuming,  arguendo,   that  proximity  must  be   considered  in
                     ________

          determining relevance,  we nonetheless find that  even though the

          conversations occur  two years after the  attempt and conspiracy,

          they are "closely intertwined  with the charged offense[s] .  . .

          [and]  [] provid[e] . .  .  significant  contextual material" for

          the jury.   Currier,  836  F.2d at  17 (citations  omitted).   As
                      _______

          discussed above,  while they do not  necessarily show Appellant's

          intent  to  commit  the  attempted  arson  or  to  enter  into  a
          ______

          conspiracy, they  do show Appellant's consciousness  of guilt and

          complicity  as  well  as the  existence  of  a  conspiracy.   See
                                                                        ___

          Perkins, 926 F.2d at 1279-80.
          _______




                                         -31-














                    While  not   all  evidence  with  probative   value  is

          admissible,  we do  not  find that  its  value is  "substantially

          outweighed by the  danger of  unfair prejudice."   Fed. R.  Evid.

          403.    In reviewing  the  balancing undertaken  by  the district

          court, we give great deference to the  district court's judgment,

          and  "[o]nly in  exceptional  circumstances will  we reverse  the

          exercise of a district  court's informed discretion vis- -vis the

          relative  weighing of  probative value  and unfairly  prejudicial

          effect."    Currier, 836  F.2d at  18  (quoting United  States v.
                      _______                             ______________

          Griffin, 818 F.2d 97,  101-02 (1st Cir.), cert. denied,  484 U.S.
          _______                                   ____________

          844 (1987)).   Based on our review of the record,  we do not find

          that  the probative  value of  the  tapes --  as edited19  -- was

          outweighed by  unfairly prejudicial evidence.   See, e.g., United
                                                          ___  ____  ______

          States v. Mu oz, 36 F.3d 1229, 1233 (1st  Cir. 1994) (noting that
          ______    _____

          the  question  under Rule  403 is  one  of unfair  prejudice, not

          prejudice alone); Currier, 836  F.2d at 18 ("Unfairly prejudicial
                            _______

          evidence  is evidence . .  . that 'triggers  [the] mainsprings of

          human action [in  such a way as  to] cause the  jury to base  its

          decision on  something other than the  established proposition in

          the  case.'") (quoting  1 Weinstein's  Evidence    403[03], 36-39

          (1986)).   Neither the fact that many of Appellant's remarks were

          made  in  response to  questions  or comments  by  the government

          witness, nor  that relevant  conversations were  intertwined with

          non-relevant ones, persuades us  to reach a different conclusion.
                              
          ____________________

          19  As mentioned above, after hearing arguments from counsel, the
          district  court agreed to  excise most of  the portions regarding
          which Appellant raised specific objections.  

                                         -32-














          Even  the  fact that  the  recordings reveal  that  Appellant had

          initially wanted to hire "a guy from organized crime so to speak"

          to  burn  the restaurant,  (Transcript, Vol.  4  at 32),  or that

          Appellant tells Schaller  what to say about pouring the gasoline,

          (Transcript,  Vol.  4  at  44),  does  not   make  them  unfairly

          prejudicial.  Finally,  we  do  not find  that  any  "exceptional

          circumstances"20  exist which  warrant reversal  of  the district

          court's rulings.21   

                        B.  The Tapes' Prior Bad Act Evidence
                        B.  The Tapes' Prior Bad Act Evidence

                    We find Appellant's reliance on Fed. R. Evid. 404(b) to

          be  irrelevant on  appeal.22   While the  transcript of  the pre-

          trial hearing regarding the admissibility of the tapes shows that

          there  were  references to  previous  fires  which arguably  fall
                              
          ____________________

          20   We note that Appellant  does not specify on  appeal that any
          "exceptional circumstances" exist.  

          21  Because  we find that  the district court  did not abuse  its
          discretion,  we need not decide whether the admission of the tape
          recordings -- even if an error -- was nonetheless harmless.

          22  Fed. R. Evid. 404(b) provides in pertinent part:

                      Evidence of other crimes, wrongs, or acts
                      is not admissible  to prove the character
                      of a  person in  order to show  action in
                      conformity therewith.   It may,  however,
                      be admissible for other purposes, such as
                      proof  of  motive,  opportunity,  intent,
                      preparation,  plan,  knowledge, identity,
                      or  absence  of   mistake  or   accident,
                      provided   that   upon  request   by  the
                      accused,  the  prosecution in  a criminal
                      case shall provide  reasonable notice  in
                      advance of  trial, or during trial if the
                      court  excuses  pretrial  notice on  good
                      cause shown, of the general nature of any
                      such evidence it intends to  introduce at
                      trial.

                                         -33-














          within  Fed.  R.  Evid.  404(b),  the  record  shows  that  these

          references   were   excised   by  agreement   of   the   parties.

          (Transcript, Vol. 4 at 21).  Not only  does Appellant not specify

          on  appeal what  "other crimes,  wrongs, or  acts" under  Fed. R.

          Evid. 404(b) were erroneously admitted into evidence,  we find no

          mention  of any in the portions that were admitted into evidence.

          Accordingly, we do not address this argument further.

                              C.  The Tapes' Audibility
                              C.  The Tapes' Audibility

                    Lastly,  as  to  Appellant's  audibility  argument,  in

          exercising its broad discretion in ruling on the admissibility of

          tape  recordings, even where  portions are  unintelligible, Font-
                                                                      _____

          Ram rez,  944 F.2d at 47, the district court "must decide whether
          _______

          'the inaudible parts are  so substantial as to make the rest more

          misleading  than  helpful.'"   Id.  (citations  omitted) (quoting
                                         ___

          Gorin  v.  United States,  313 F.2d  641,  652 (1st  Cir.), cert.
          _____      _____________                                    _____

          denied, 374 U.S.  829 (1963)).   While the  district court  found
          ______

          that there were segments  of poor audio and static,  the district

          court  nonetheless decided to admit them.  The district court was

          swayed by the fact that the parties stipulated to the accuracy of

          the  transcript  as a  true  recording of  the  tapes.23   We are

          similarly  swayed  and  find  no  abuse  of  the   court's  broad

          discretion, even as  to the March 1,  1994, tape about which  the

          district court was most  concerned.  Based  on our review of  the



                              
          ____________________

          23   Inaudible  segments were  indicated  in the  transcript with
          parentheticals, such as "static" or "unintelligible." 

                                         -34-














          transcript,24  we  disagree  with   Appellant's  claim  that  the

          inaudible parts, when taken as a whole, were so substantial as to

          make  the   rest  more  misleading  than   helpful,  because  the

          transcript clearly  evidences  that sufficient  portions  of  the

          tapes, including  statements by both Schaller  and Appellant, are

          audible.    As discussed  earlier,  these  segments are  relevant

          because  they  include,  inter  alia,  admissions  by  Appellant,
                                   ___________

          tending  to show  consciousness  of guilt  and corroborate  trial

          testimony.   Furthermore,  the district  court gave  a cautionary

          instruction  to the  jury that  not only  informed them  that the

          tapes, but not the  transcript, were evidence, but also  that the

          jurors had to draw their own conclusions regarding  their content

          and  probative value based on  what they themselves  heard on the

          tapes.25   United States  v. Carbone, 798  F.2d 21,  26 (1st Cir.
                     _____________     _______

          1986) (finding that the judge's handling of the transcript was in

          accord  with  the  law where  the  record  shows  that the  judge

          carefully  instructed   the  jurors  that  the   tapes,  not  the

          transcripts, were  evidence and that any  differences between the
                              
          ____________________

          24    See  n.17, supra.    In  ruling  on Appellant's  audibility
                ___        _____
          argument, we  add only this:   By not including the  tapes in the
          record on appeal, Appellant forfeited the right to their review.

          25   We also  note that  as to the  one disputed  sentence in the
          transcript (whether Appellant said "I am aware  of that" or "I am
          not  aware of  that",  (Transcript, Vol.  4  at 23)),  the  court
          allowed   two  versions  of  the  page  to  be  included  in  the
          transcript, informed the jury that the parties were in dispute as
          to   what  Appellant   actually  said   on  that   page  (without
          specifically identifying the disputed sentence), and gave another
          cautionary instruction that they  were to make their  own finding
          based  on what  they heard  on the  tapes.   The jury  heard that
          segment  twice, each time while reading along with the respective
          versions.  (Transcript, Vol. 5 at 54-59).

                                         -35-














          two  must  be  resolved  in  favor  of  what  was  heard  on  the

          recording).   Based on the  record, and particularly  in light of

          Appellant's stipulation  to the accuracy  of the transcript  as a

          true  recording of the tapes,  we find no  abuse of discretion by

          the  district  court  in  admitting the  tapes  over  Appellant's

          audibility objection.

                              IV.  Appellant's Sentence
                              IV.  Appellant's Sentence

                    Finally, Appellant appeals his  sentence imposed by the

          district court pursuant  to the federal arson  guidelines.26  See
                                                                        ___

          U.S.S.G.    2K1.4(a)(1)-(4).   The  arson guidelines  provide, in

          pertinent part:

                    (a) Base Offense Level (Apply the Greatest):

                        (1)  24, if  the offense (A)  created a
                      substantial  risk  of  death  or  serious
                      bodily injury  to any person other than a
                      participant in the offense, and that risk
                      was created knowingly; . . . 

                        (2) 20,  if the  offense (A)  created a
                      substantial  risk  of  death  or  serious
                      bodily injury to any person  other than a
                      participant in the offense; . . . 

                        (3)  2  plus  the  offense  level  from
                       2F1.1  (Fraud and Deceit) if the offense
                      was committed in connection with a scheme
                      to defraud; or


                              
          ____________________

          26    All  citations to  the  Sentencing  Guidelines  are to  the
          November  1994  version,  which  is the  version  applied  by the
          district court,  as it  was  the one  in effect  at  the time  of
          Appellant's  May 25,  1995,  sentencing.   See  United States  v.
                                                     ___  _____________
          Aymelek,  926  F.2d  64, 66  n.1  (1st  Cir.  1991) (noting  that
          _______
          district courts should  apply the  version of  the Guidelines  in
          effect  at  the  time  of  sentencing,  barring  ex   post  facto
          problems).  Here, the applicable guidelines had not changed after
          Appellant committed the instant offenses. 

                                         -36-














                        (4)  2  plus  the  offense  level  from
                       2B1.3 (Property Damage or Destruction).

          U.S.S.G.      2K1.4;   see   U.S.S.G.  App.   C,  Amendment   330
                                 ___

          (restructuring  the  arson  guidelines).   New  language  in  the

          Commentary,  Application  Note  2, provides  that  "[c]reating  a

          substantial  risk  of death  or  serious  bodily injury  includes

          creating that  risk to firefighters  and other emergency  and law

          enforcement personnel who respond  to or investigate an offense."

          See, e.g., United States v. Turner, 995 F.2d 1357, 1365 (6th Cir.
          ___  ____  _____________    ______

          1993)  (finding that  endangering firefighters is  an appropriate

          factor);  United States  v.  Grimes, 967  F.2d  1468, 1471  (10th
                    _____________      ______

          Cir.), cert. denied,  506 U.S.  927 (1992)  (noting that  several
                 ____________

          other circuits had come to the same conclusion). 

                    Appellant challenges  the district court's  sentence on

          three  separate  grounds.   We  address them  in  turn, reviewing

          findings of fact  for clear error, mindful that they need only be

          supported  by  a preponderance  of  the  evidence, and  reviewing

          questions  of law de novo,  including the scope and applicability
                            _______

          of a relevant guideline.   See 18 U.S.C.   3742(e); United States
                                     ___                      _____________

          v. Mart nez-Mart nez,  69 F.3d 1215, 1224 (1st Cir. 1995); United
             _________________                                       ______

          States v. Thompson, 32 F.3d 1, 4 (1st Cir. 1994). 
          ______    ________

                     A.  The "Fraud or Deceit" Base Offense Level
                     A.  The "Fraud or Deceit" Base Offense Level

                    First,  Appellant  contends  that  the  district  court

          should  have  applied  U.S.S.G.     2K1.4(a)(3),  which  requires

          computation of the base offense level  as 2 plus the base offense

          level  for  "Fraud  and  Deceit."    Appellant  argues  that  the

          overwhelming  evidence  at  trial established  that  his  primary

                                         -37-














          purpose was to defraud the insurance company and that  Appellant,

          while creating some  risk of  death or serious  bodily injury  by

          pouring gasoline,  did not  knowingly create a  substantial risk.

          While  the record does indicate  that Appellant participated in a

          scheme  to defraud the  insurance company,  we conclude  that the

          district court properly chose subparagraph   2K1.4(a)(1) based on

          its  specific  finding --  which, as  we  discuss below,  was not

          clearly  erroneous   --  that   Appellant  knowingly   created  a

          substantial risk  of death  or serious  bodily injury  to persons

          other  than the participants in the attempted arson.  See Grimes,
                                                                ___ ______

          967 F.2d at  1472 (holding that district  court properly rejected

          application  of  fraud  guideline,    2K1.4(a)(3),  and  properly

          applied    2K1.4(a)(2)  in case  involving defendant's  effort to

          obtain   insurance   through   arson   where   defendant  created

          substantial  risk  of  injury or  death).    The  arson guideline

          instructs that the base offense level  is determined by selecting

          the  highest level from among four choices.  Section 2K1.4(a)(1)-

          (4); United  States v. Mizrachi, 48 F.3d 651, 655 (2d Cir. 1995).
               ______________    ________

          The Government  contends that  applying   2K1.4(a)(3)  would only

          yield  a base  offense  level  of  19, less  than  that  under   

          2K1.4(a)(1), which  is  24.    Appellant does  not  dispute  this

          calculation   or  otherwise   present  his   own      2K1.4(a)(3)

          calculation,  nor was there  any discussion of  this issue during

          the  sentencing  hearing.    Assuming,   without  deciding,  that

          calculation under    2K1.4(a)(3) would  have yielded only  a base

          offense  level  of  19,  we  conclude  that  the  district  court


                                         -38-














          correctly applied    2K1.4(a)(1)  because it yielded  the highest

          base offense level based on  its finding that Appellant knowingly

          created  a substantial risk of  bodily injury.   Cf. Mizrachi, 48
                                                           __  ________

          F.3d  at  656  (affirming   district  court's  application  of   

          2K1.4(a)(3) in  sentencing defendant  for arson, mail  fraud, and

          money  laundering offenses  where facts  yielded an  initial base

          offense level of 35).

                      B.  Knowing Creation of a Substantial Risk
                      B.  Knowing Creation of a Substantial Risk

                    Second,  Appellant  argues  that the  district  court's

          finding that  Appellant knowingly  created a substantial  risk of

          death  or  serious  bodily injury  to  any  person  other than  a

          participant in the offense is not supported by a preponderance of

          the  evidence.     Whether   a  defendant  knowingly   created  a

          substantial  risk of death  or serious  bodily injury  within the

          meaning of section  2K1.4 of  the Guidelines raises  an issue  of

          first impression in that this court has not previously determined

          what level of knowledge  is required under   2K1.4(a)(1)(A).   At

          the outset, we  note that this determination  involves a two-step

          inquiry.   A court must first ask whether the defendant's actions

          created  a substantial risk of death or serious bodily injury and

          then  decide whether  the defendant  acted knowingly  in creating

          that risk.   See United States  v. Karlic,  997 F.2d 564,  568-69
                       ___ _____________     ______

          (9th  Cir. 1993) (stating that the first inquiry is objective and

          the second is subjective). 

                            1.  The Substantial Risk . . .
                            1.  The Substantial Risk . . .




                                         -39-














                    Leaving aside the question of knowledge for the moment,

          we conclude first that  the district court did not clearly err in

          finding that  Appellant created a  substantial risk  of death  or

          serious bodily injury to  any person other than a  participant in

          the offense.  The  district court based its finding  primarily on

          the  PSR,  which  indicated, inter  alia,  that  the  presence of
                                       ___________

          gasoline  created   the  potential  for  a   fire  or  explosion.

          According  to the PSR, a  fuel air explosion  could have occurred

          had "a heat source been introduced within a specific danger range

          between the  place where  the  gasoline was  poured and  anyplace

          within the  building where  the odor  of gasoline  was detected,"

          (PSR, at  22), and  that "because the  gasoline was  poured in  a

          confined area which  contained electrical outlets,  an electrical

          spark or other heat source  could have ignited the vapors in  the

          confined  area at any time," (PSR, at 23).  Although the evidence

          indicates that Appellant  only planned to  ignite the fire  after

          the  restaurant closed,  the  district court  concluded that  the

          potential  for a  fuel  air  explosion or  for  a fire  to  start

          accidentally  created  a substantial  risk  of  death or  serious

          bodily injury to the occupants of the building at the time of the

          pouring of the gasoline in the  attic as well as to  firefighters

          and others who would respond to the incident.  

                    We find no clear error  in this finding of  substantial

          risk to patrons and  firefighters.  It was properly based on both

          the PSR and the sentencing judge's  common sense understanding --

          which  Appellant  conceded  during  the  sentencing  hearing  was


                                         -40-














          appropriate -- of the risks associated with pouring an accelerant

          to  start a  fire in  an occupied  building where  there  was the

          potential for  a fuel  air explosion  to occur or  for a  fire to

          start accidentally.   See Medeiros,  897 F.2d at  20 (relying  on
                                ___ ________

          common  sense  in finding  under  earlier  arson guidelines  that

          defendant conspired  "to cause the  kind of fire  that recklessly

          would endanger others.").  As the  district court correctly noted

          in  response to  Appellant's insistence  that  there was  no risk

          created   because   no   fire  actually   occurred,   (Sentencing

          Transcript, pages  19-22), the Guidelines speak of  "risk."  "The

          fact that  fortuitously no one  was injured and  extensive damage

          did  not result [because no fire  or explosion actually occurred]

          does  not further [A]ppellant's contention that he  did not . . .

          create  a substantial risk  of death  or serious  bodily injury."

          United States v. Honeycutt, 8 F.3d 785, 787 (11th Cir. 1993).
          _____________    _________

                    Furthermore, in light of  the federal arson guidelines'

          commentary,  see U.S.S.G.   2K1.4, Application Note 2, we find no
                       ___

          clear error in  the district court's finding  of substantial risk

          given  its finding  that firefighters "could  have been  blown to

          smithereens" had a spark  ignited the gasoline vapors (Sentencing

          Transcript, at 20).  See, e.g., Turner, 995 F.2d at 1365; Grimes,
                               ___  ____  ______                    ______

          967  F.2d  at 1471.    While "all  fires present  some  danger to

          firefighters  required  to  extinguish  it,  .  .   .  [w]here  a

          spectacular fire  is planned near an occupied building, a finding

          of  reckless  endangerment to  firefighters would  be based  on a

          common  sense understanding of the  risks of putting  out a major


                                         -41-














          fire when rescue attempts are likely to be necessary."  Medeiros,
                                                                  ________

          897  F.2d at 20.  Similarly, here,  although there is no evidence

          that  Appellant  planned  a  "spectacular fire,"  the  sentencing

          judge's finding of substantial risk in this case was based on his

          -- and,  again, our  --  common sense understanding of  the risks

          associated with  using an accelerant  in an occupied  building to

          start  a fire  where  there  was the  potential  for a  fuel  air

          explosion to occur or for a fire to start accidentally.27

                             2.  . . . Knowingly Created
                             2.  . . . Knowingly Created

                    Next, we must decide whether the district court clearly

          erred  when  it  found  that  Appellant  knowingly  created  this
                                                   _________

          substantial risk.   While we  review the court's  factual finding

          for  clear  error,  the definition  of  a  Guidelines  term is  a

          question of law which  we review de novo.   Mart nez-Mart nez, 69
                                           _______    _________________

          F.3d at 1224.

                    Looking  first  to the  statute, we  note that  the two

          highest  base offense  levels  in the  federal arson  guidelines,

            2K1.4(a)(1)  and      2K1.4(a)(2),  contain   almost  identical

          language.  The latter, for which there is a base offense level of

          20, applies to  the creation of  a substantial risk  of death  or

          serious bodily  injury.   The former, for  which there is  a base

          offense level of  24, applies to the  knowing creation of such  a

          risk.    This structure  clearly suggests  that  there must  be a

                              
          ____________________

          27   In  Medeiros, we  affirmed the  district court's  finding of
                   ________
          "reckless endangerment"  under the earlier arson  guidelines.  We
          consider  the facts supporting such a finding to be relevant to a
          finding of "substantial risk" under the amended guidelines.

                                         -42-














          meaningful distinction between the  two sections.  See Honeycutt,
                                                             ___ _________

          8  F.3d at 787 (noting that "[c]learly  it was intended for there

          to  be a  distinction between  the two  sections").28   Given the

          structure   of  the   arson  guidelines,   we  conclude   that   

          2K1.4(a)(1)(A) requires  that the district court  make a specific

          finding that the defendant "knowingly" created a substantial risk

          of death or serious  bodily injury, as opposed to  merely finding

          that defendant  recklessly (or  negligently) created such  a risk

          which  would   more  appropriately   trigger  application   of   

          2K1.4(a)(1)(B).      Apart  from   this   rather  straightforward

          observation,   no  guidance  is   gleaned  from   the  Sentencing

          Guidelines,  as "knowingly"  is  not defined.   In  addition, the

          usual rule  of  giving  an undefined  statutory  term  its  plain

          meaning provides little direction given that "'[k]nowledge' means

          different  things  in  different  contexts."   United  States  v.
                                                         ______________

          Spinney, 65 F.3d 231, 236 (1st Cir. 1995).
          _______

                    Our own precedent is of little help because, while this

          court  has  addressed  the   application  of  the  federal  arson

          guidelines,  see  Medeiros,  897  F.2d  at  18  (applying  former
                       ___  ________
                              
          ____________________

          28  In discussing   2K1.4's  application note about firefighters,
          the  Honeycutt   court  concluded   that  knowledge  alone   that
               _________
          firefighters  will respond to a fire "cannot suffice to satisfy  
          2K1.4(a)(1)."   The court  reasoned that  if that knowledge  were
          alone sufficient  then    2K1.4(a)(2) (creation of  a substantial
          risk of death or  serious bodily injury)  would be subsumed by   
          2K1.4(a)(1) (knowing creation of that risk).  As the court noted,
          "fires  are  inherently   dangerous,  and   the  knowledge   that
          firefighters  and emergency  personnel respond  to  virtually all
          fires can ordinarily  be presumed."   Honeycutt, 8  F.3d at  787.
                                                _________
          "The  arsonist must  know that  a specific  fire for  some reason
          poses a substantial  risk of  death or serious  bodily injury  to
          firefighters and emergency personnel who may respond."  Id.
                                                                  ___

                                         -43-














          U.S.S.G.    2K1.4(b)(2)  and affirming  district court's  finding

          that defendant  "recklessly endangered  the safety  of another");

          see also, United States v.  Flowers, 995 F.2d 315, 316 (1st  Cir.
          ________  _____________     _______

          1993)  (involving but  not  discussing application  of    2K1.4);

          United  States  v. Johnson,  952 F.2d  565,  585 (1st  Cir. 1991)
          ______________     _______

          (same),  it has  never  addressed  what  level  of  knowledge  is

          required under  the highest  offense level where  the substantial

          risk was created knowingly by the defendant.

                    Turning to our fellow circuits,  we note that the Ninth

          Circuit, and  later the Eleventh Circuit,  adopted the definition

          of "knowingly" as used  in the Model Penal Code (the  "MPC") when

          applying   2K1.4.  See Honeycutt, 8 F.3d at 787; United States v.
                             ___ _________                 _____________

          Karlic, 997  F.2d 564,  569 (9th  Cir. 1993).   Drawing from  the
          ______

          MPC's  definition,29 the  Ninth  Circuit held  that "a  defendant

          can  be found to have  'knowingly' created a  substantial risk of

          death  or serious  bodily  injury  under     2K1.4  only  if  the

          defendant was aware that  a substantial risk of death  or serious
                              
          ____________________

          29   The Model  Penal Code's  definition of  "knowingly" provides
          that:

                      A person acts knowingly with respect to a
                      material element of an offense  when: . .
                      . 
                      (ii) if the element involves a  result of
                      his  conduct,  he  is aware  that  it  is
                      practically certain that his conduct will
                      cause such a result.

          Model Penal Code    2.02(2)(b) (1985).  The Model Penal Code also
          ________________
          states that  "[w]hen knowledge of  the existence of  a particular
          fact is an element  of an offense, such knowledge  is established
          if  a person  is aware of  a high  probability of  its existence,
          unless he actually believes it does not exist."  Model Penal Code
                                                           ________________
            2.02(7) (1985).

                                         -44-














          bodily  injury  was  'practically  certain' to  result  from  the

          criminal act."   Karlic, 997  F.2d at 569;  accord, Honeycutt,  8
                           ______                     ______  _________

          F.3d at 787.  We  note that other courts have neither  explicitly

          defined "knowingly" nor adopted the MPC's  definition, apparently

          finding  it unnecessary  where the  district court  could clearly

          conclude from  the facts whether  the defendant knew  his actions

          created a substantial  risk of  death or  serious bodily  injury.

          For example,  in United States v.  Markum, 4 F.3d 891  (10th Cir.
                           _____________     ______

          1993),  the  court found  that a  fire  set with  gasoline during

          business hours which put  firefighters in severe jeopardy because

          of the ferocity of the fire and the risk of explosion constituted

          "circumstances [which]  more than justified  the district court's

          finding  that [defendant], as a co-conspirator, knowingly created

          a  substantial risk of  death or serious bodily  injury."  Id. at
                                                                     ___

          896-97.  Similarly,  in United  States v. Turner,  995 F.2d  1357
                                  ______________    ______

          (6th Cir.), cert.  denied, 114  S. Ct. 282  (1993), the  district
                      _____________

          court concluded  that defendant's actions could  fit under either

            2K1.4(a)(1)(A) or  (B).  As  to the defendant's  knowledge, the

          court found that defendant knowingly created the substantial risk

          given  that  people in  the  residence  adjacent to  the  burning

          building  were likely  to  be asleep  and windy  conditions would

          cause the  fire to spread  quickly.  Id. at  1365.  The  court in
                                               ___

          Turner  also found that defendant "should have known" that he was
          ______

          placing  firefighters at  a  substantial risk  by committing  the

          arson  in weather  conditions that  would make  extinguishing the

          fire extremely difficult.  Id.
                                     ___


                                         -45-














                    As  this  relevant  case  law  provides  at  least  two

          distinct  approaches, we  find  it helpful  when considering  the

          question  of  "knowledge"  to  recall  that  "the  length of  the

          hypothetical  knowledge continuum"  is  marked  by  "constructive

          knowledge"  at one end and  "actual knowledge" at  the other with

          various  "gradations,"  such as  "notice  of  likelihood" in  the

          "poorly charted area that stretches between the poles."  Spinney,
                                                                   _______

          65 F.3d at 236-37 (discussing the continuum in the context of the

          "shared  knowledge"  requirement  in prosecution  of  aiding  and

          abetting armed robbery).  In terms of this continuum,  "practical

          certainty"  would seem  most  akin to  "actual  knowledge."   Id.
                                                                        ___

          (noting  that   "[a]ctual  knowledge,  after   all,  is   certain

          knowledge").    We are  inclined to  conclude  that a  showing of

          knowledge anywhere  along this continuum satisfies application of

             2K1.4(a)(1)(A).30   This  approach  would  be consistent  both

          with  the guidelines'  mandate that  a meaningful  distinction be

          made between the two highest base offense levels as  well as with

          the  "common  sense"  approach  we endorsed  in  Medeiros.    See
                                                           ________     ___

          Medeiros, 897 F.2d at 20.  That said, however,  at this  juncture
          ________

          we  need not  definitively resolve  what level  of knowledge,  in

          addition  to  "actual knowledge,"  is  required.   Even  assuming
                              
          ____________________

          30  "Constructive knowledge is the law's way of recognizing that,
          given an awareness of certain subsidiary facts, a person is quite
          likely to know, can be expected to know, or at  least should have
          known that a further fact existed."  Spinney, 65 F.3d at 236.  In
                                               _______
          contrast, "[a]ctual  knowledge, as the term  implies, reduces the
          need  for  inference;  it  suggests the  presence  of  particular
          evidence which,  if credited,  establishes conclusively  that the
          person  in  question  knew  of  the  existence  of  the  fact  in
          question."  Id. 
                      ___

                                         -46-














          without deciding  that, for   2K1.4(a)(1)(A)  to apply, Appellant

          had to  be "aware  that a  substantial risk  of death or  serious

          bodily  injury  was  'practically  certain' to  result  from  the

          criminal act,"  Karlic, 997  F.2d at  569, we reject  Appellant's
                          ______

          contention  that  the  district  court's  findings  are   clearly

          erroneous.  

                    On  appeal, Appellant  argues that  the  district court

          clearly  erred   in  finding   that  he  knowingly   created  the

          substantial  risk,   because  "[it]   made  no  finding   that  a

          substantial  risk   of  death   or  serious  bodily   injury  was

          'practically certain'  to  result from  his  [attempted  arson]."

          Appellant contends  that the  district court's findings  that the

          restaurant was occupied at  the time the gasoline was  poured and

          that  the   vapors  could  have  been   accidentally  ignited  is

          insufficient for the application of   2K1.4(a)(1)(A), because the

          record  does not  show by  a preponderance  of the  evidence that

          Appellant  was  "practically certain"  that  an  accidental cause

          could have started the fire.  

                    Giving due deference to  the court's application of the

          guidelines  to the facts, we conclude that the district court did

          not clearly err in finding that  Appellant "knew that . . . there

          was  a  substantial risk  of  death  or  serious  bodily  injury"

          (Sentencing Transcript at 23).  In arriving at our conclusion, we

          note that  facts contained in a presentence report ordinarily are

          considered reliable evidence for sentencing purposes.  See United
                                                                 ___ ______

          States  v. Morillo,  8 F.3d  870, 872 (1st  Cir. 1993).   Indeed,
          ______     _______


                                         -47-














          district courts possess "broad  discretion to determine what data

          is, or is  not, sufficiently  dependable to be  used in  imposing

          sentence."   United States v.  Tardiff, 969 F.2d  1283, 1287 (1st
                       _____________     _______

          Cir.  1992).  This is particularly true where, as here, Appellant

          offered no evidence to suggest  an inaccuracy in the  presentence

          report's facts.  Id., 8 F.3d at 873 (collecting cases).
                           ___

                    The  record  shows  that,  at  the time  of  the  first

          attempt,31  Appellant knew  that  at least  two other  employees,

          including Schaller (who at that time was not a participant in the

          offense),  were in  the restaurant.   As  the court  in Honeycutt
                                                                  _________

          noted, "[i]t  is difficult to  imagine a clearer  illustration of

          the  knowing creation of a  substantial risk of  death or serious

          bodily injury."   Honeycutt, 8 F.3d at 787 (affirming application
                            _________

          of   2K1.4(a)(1)(A) where defendant threw a Molotov cocktail at a

          structure  that he admitted he  knew was occupied).   In terms of

          our continuum, this strikes us as constituting "actual knowledge"

          and/or "practical certainty."

                    At the  time of  the second  attempt, the  record shows

          that gasoline was poured, hours before the intended ignition,  in

          a confined  area atop the Galleria II at a time when both patrons

          and  employees were inside.  Appellant knew gasoline was a highly

          flammable liquid and  he arranged  for it  to be  poured for  the

          specific  intent of  lighting a  fire after  business hours.   In

          response  to  Appellant's  "practical  certainty"  argument,  the
                              
          ____________________

          31   We address the first  count (the attempt to start  a fire in
          the  attic with paper) even though Appellant's brief only focuses
          on the second count (involving the gasoline). 

                                         -48-














          district court found that "the fact that [Appellant] . . . wanted

          to [ignite] the fire  outside of business hours,  suggests . .  .

          that he  knew of the risk"  to people inside the  building and to

          those who would respond  to the fire.  (Sentencing  Transcript at

          18).   Contrary  to Appellant's  contentions, these  findings are

          sufficient for the application of the highest base offense level.

          While  Appellant may not have been aware that it was "practically

          certain"  that  a fire  could  ignite  accidentally  or that  the
                                                 ____________

          restaurant  and any  occupants could  be blown  to "smithereens,"

          (Sentencing Transcript  at 20),  we  remind Appellant  -- as  the

          district court did more than once -- that the guidelines call for

          the  knowing   creation  of  a   substantial  risk.     Here,   a
                                                        ____

          preponderance of the evidence supports the finding that Appellant

          was  aware that  a substantial  risk of  death or  serious bodily

          injury  was "practically  certain" to  result from  the use  of a

          highly  flammable accelerant  for  purposes of  starting a  fire.

          Appellant presented no evidence to rebut the preponderance of the

          evidence  presented   on  this  point.     Furthermore,  we  find

          irrelevant  whether or  not  Appellant was  "practically certain"

          that an  accidental ignition  would occur  given that  the record
                   __________

          supports  a finding that he was "practically certain" that he was

          creating a substantial  risk of death  or serious bodily  injury.
                                  ____

          Finally, the district court  again correctly rejected Appellant's

          argument that he did  not knowingly create a risk because no fire

          or explosion actually  occurred.   See Honeycutt, 8  F.3d at  787
                                             ___ _________

          ("[t]he fact that  fortuitously no one was injured  and extensive


                                         -49-














          damage did  not result does not  further [A]ppellant's contention

          that he did not knowingly create a substantial risk.").  At issue

          is  Appellant's  state of  mind, not  the  actual results  of his

          actions.   Id.; cf. Medeiros,  897 F.2d at  20 (finding that  the
                     ___  ___ ________

          defendant "specifically intended to cause  the kind of fire  that

          recklessly would endanger others"). 

                    C.  Two-Level Enhancement for Leadership Role
                    C.  Two-Level Enhancement for Leadership Role

                    Finally,  Appellant  appeals the  two-level enhancement

          which the district court  imposed for his leadership role  in the

          offense.  See U.S.S.G.   3B1.1(c).  As we have said before, "role
                    ___

          in the offense" determinations are fact intensive and we normally

          review  for clear error.  See United States v. Tejada-Beltr n, 50
                                    ___ _____________    ______________

          F.3d 105, 111 (1st Cir. 1995); United States v. Schultz, 970 F.2d
                                         _____________    _______

          960, 963-64 (1st Cir.  1992), cert. denied, 506 U.S.  1069 (1993)
                                        ____________

          (citations omitted).  Appellant argues that he and Schaller were,

          at best, "equals" and nothing more than "partners in crime." 

                    Under U.S.S.G.    3B1.1(c), a two-level enhancement  is

          warranted if  the sentencing  court determines that  the criminal

          enterprise involved at least  two participants, and the defendant

          exercised  control  over,   or  was  otherwise   responsible  for

          organizing the  activities of, at  least one other  individual in

          committing the crime.  See, e.g., Morillo,  8 F.3d at 872; United
                                 ___  ____  _______                  ______

          States v.  Akitoye,  923 F.2d  221,  227 (1st  Cir.  1991).   For
          ______     _______

          purposes of  determining the overall number  of participants, the

          defendant himself may be  counted as one participant;  "[b]ut, he

          must  exercise control  over at  least  one other  participant to


                                         -50-














          warrant an upward adjustment."  Morillo, 8 F.3d at 872  n.13.  In
                                          _______

          determining whether  a defendant is  an organizer or  leader, the

          Sentencing Guidelines direct judges' attention  to seven factors,

          including "the exercise of  decision making authority, the nature

          of  participation   in  the   commission  of  the   offense,  the

          recruitment of accomplices, the  claimed right to a larger  share

          of  the fruits  of  the crime,  the  degree of  participation  in

          planning or organizing the  offense, the nature and scope  of the

          illegal  activity,  and  the  degree  of  control  and  authority

          exercised over  others." U.S.S.G.   3B1.1,  comment.; see Tejada-
                                                                ___ _______

          Beltr n,  50 F.3d  at  111-13  ("This  list  is  intended  to  be
          _______

          representative   rather  than   exhaustive.").     Finally,   the

          government must bear the  burden of proving that an  upward role-

          in-the-offense adjustment is warranted. Morillo, 8 F.3d at 872.  
                                                  _______

                    Here,  it is  undisputed  that  Appellant and  Schaller

          participated in the attempted arson of the Galleria II.  Contrary

          to  Appellant's  contention  that   he  and  Schaller  were  mere

          "equals," evidence was submitted at trial that it was Appellant's

          idea to burn the Galleria II; that Appellant devised the time and

          method  of committing  the offense;  that Schaller  was persuaded

          and, ultimately, recruited by Appellant after Appellant failed to

          hire  someone  else   to  commit  the   offense  and  after   his

          unsuccessful  attempt  to start  a fire  in  the attic;  and that

          Schaller poured the gasoline  at Appellant's request and informed

          Appellant  when  he  was   finished.    Contrary  to  Appellant's

          argument,  these factual  findings  satisfy the  requirements for


                                         -51-














          applying   3B1.1(c).  We are unpersuaded by Appellant's  argument

          that  the fact that Appellant asked or persuaded Schaller to pour

          gasoline  does not show  supervision over him.   While it may not

          show  supervision,  it   certainly  shows  --  at  a  minimum  --

          Appellant's   exercise   of   decision   making   authority,  his

          recruitment  of  accomplices,  and  the  greater  degree  of  his

          participation in planning and organizing the two  arson attempts.

          Thus,   finding  no   clear   error  in   the  district   court's

          determination  of  Appellant's  role,32 we  affirm  the  district

          court's two-level enhancement.  United States v. Garc a, 954 F.2d
                                          _____________    ______

          12, 18 (1st  Cir. 1992) (noting  that, absent  a mistake of  law,

          sentencing court's role-in-the-offense determination  is reviewed

          only for clear error). 

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    For  the   foregoing  reasons,  the   district  court's

          judgment and sentence is, in all respects,

                    Affirmed.
                    Affirmed
                    ________




                              
          ____________________

          32  Appellant also contends that  "[t]he finding that [Appellant]
          stood to gain  financially from the fire is also erroneous."  The
          government  argued that Appellant -- and not Schaller, who had no
          ownership  interest in the restaurant or the building -- stood to
          gain financially from  a fire at the Galeria II  and, thus, had a
          "claimed  right to a  larger share of  the fruits of  the crime."
          U.S.S.G.    3B1.1, comment.  We need not address this argument as
          the district  court neither made,  nor relied on,  this "finding"
          when  it concluded  that adjustment  under U.S.S.G.    3B1.1  was
          justified.  See  Sentencing Transcript, page  28.  Even  assuming
                      ___
          arguendo  that such a "finding" were  clearly erroneous, we would
          ________
          nonetheless affirm  the district court's adjustment  based on the
          evidence of Appellant's role in the offense.

                                         -52-









